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                            MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                         1201 N ORTH M ARKET S TREET
                                                P.O. B OX 1347
                                     W ILMINGTON , D ELAWARE 19899-1347

                                                 302 658 9200
                                               302 658 3989 F AX
 JEREMY A. TIGAN
 (302) 351-9106
 jtigan@morrisnichols.com


                                              February 29, 2024

The Honorable Gregory B. Williams                                          VIA ELECTRONIC FILING
United States District Court
  for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Unit 26, Room 6124
Wilmington, DE 19801-3555

                    Re:       Jazz Pharms., Inc., et al. v. Avadel CNS Pharms., LLC,
                              C. A. Nos. 21-691, 21-1138, 21-1594 (GBW)

Dear Judge Williams,

       The parties have conferred regarding redacted versions of the Court’s sealed February 14,
2024 Memorandum Opinion Regarding Summary Judgment and Daubert Motions (C.A. No. 21-
691, D.I. 539; C.A. 21-1138, D.I. 425; C.A. No. 21-1594, D.I. 423) and Order Regarding Motions
in Limine (C.A. No. 21-691, D.I. 540; C.A. 21-1138, D.I. 426; C.A. No. 21-1594, D.I. 424). The
proposed redacted versions are attached as Exhibits A and B respectively.

       The proposed public version of the Memorandum Opinion Regarding Summary Judgment
and Daubert Motions redacts information related to Jazz’s licensing practices that Jazz believes
would cause competitive harm if disclosed to the public. The proposed public version of the Order
Regarding Motions in Limine redacts information related to Avadel’s financial information that
Avadel believes would cause competitive harm if disclosed to the public.

         Counsel for the parties are available if the Court should have any questions.

                                                    Respectfully,

                                                    /s/ Jeremy A. Tigan

                                                    Jeremy A. Tigan (#5239)

JAT:lo
cc:    Clerk of the Court (via hand delivery)
       All Counsel of Record (via CM/ECF and e-mail)
